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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 UNITED STATES OF AMERICA

        -v-                                                     No. 12-cr-260 (RJS)
                                                                     ORDER
 JOHN RUBEO,

                               Supervisee.


RICHARD J. SULLIVAN, Circuit Judge:

       On October 16, 2020, the Court held a status conference via Skype for Business regarding

whether Rubeo had violated the conditions of his supervised release by associating with known

felons without the prior knowledge and permission of his probation officer and the Court. (See

Docs. No. 72, 74.) At the conference, the Court directed the Probation Office to prepare formal

specifications of Rubeo’s violations of supervised release. (October 16, 2020 Minute Entry.) The

Court also set a schedule for Rubeo and the government to respond to the Probation Office’s report.

After the Court received the specifications, it issued a summons directing Rubeo to appear before

the Court on November 12, 2020 at 2:00 p.m. via videoconference.

       Since then, Rubeo has represented to the Court that he seeks to admit to Specifications Two

and Three, but that he disputes the allegations contained in Specification One. The government,

for its part, “believes that an admission to Specifications [Two] and [Three] is an appropriate

resolution of the violation” and “would be prepared to proceed to sentencing at the next conference

in this case.” (Doc. No. 78 at 1.) The Court is not prepared to adopt this proposed disposition.

Accordingly, IT IS HEREBY ORDERED that the Court will adjourn the November 12, 2020

conference set by its earlier summons. IT IS FURTHER ORDERED THAT the parties shall

appear on December 2, 2020 at 11:00 a.m. Eastern Time for a hearing on Specification One, at
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which the government will submit evidence concerning Rubeo’s contact with John Alite and Gene

Borello, including statements made by Rubeo to Probation and/or law enforcement officers as well

as relevant phone and computer records. Because Rubeo has indicated that he prefers to proceed

remotely by videoconference in light of the COVID-19 pandemic (Doc. No. 76), the conference

will take place via Skype for Business. The Court will issue an order in due course with additional

details concerning the logistics of the conference.

         The Court is also in receipt of a motion from a non-party, Jerry Capeci, seeking unsealing

of certain documents related to the alleged violations of supervised release, including a November

2, 2020 letter by Rubeo referenced in the government’s November 6, 2020 letter, and a report by

the Probation Office detailing the recent specifications.      (Doc. No. 79.)    IT IS HEREBY

ORDERED THAT Rubeo and the government shall each file their response to the motion no later

than November 13, 2020; Mr. Capeci may file a reply no later than November 18, 2020.

SO ORDERED.

Dated:          November 10, 2020
                New York, New York

                                                      RICHARD J. SULLIVAN
                                                      UNITED STATES CIRCUIT JUDGE
                                                      Sitting by Designation




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